                                      NO. 12-24-00063-CR

                             IN THE COURT OF APPEALS

                TWELFTH COURT OF APPEALS DISTRICT

                                         TYLER, TEXAS

ERNESTO SANDOVAL-                                     §       APPEAL FROM THE 420TH
DELROSARIO,
APPELLANT
                                                      §       JUDICIAL DISTRICT COURT
V.

THE STATE OF TEXAS,                                   §       NACOGDOCHES COUNTY, TEXAS
APPELLEE
                                     MEMORANDUM OPINION
                                         PER CURIAM

         Ernesto Sandoval-Delrosario appeals his convictions for aggravated sexual assault of a
child. Appellant’s counsel filed a brief in compliance with Anders v. California, 386 U.S. 738,
87 S. Ct. 1396, 18 L. Ed. 2d 493 (1967) and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App.
1969). We affirm.
                                              BACKGROUND

         Appellant was charged by indictment with four counts of aggravated sexual assault of a
child, P.S.1 Appellant pleaded “not guilty” to all counts, and the matter proceeded to a jury trial.
         At trial, P.S.’s mother, R.L., testified that Appellant was formerly her romantic partner
and that they share three biological children (not including P.S.). During 2020, while R.L. was at
work, Appellant stayed home to supervise the children. R.L. contacted law enforcement on May
5, 2020, because P.S. told her that Appellant had been sexually assaulting her on an ongoing
basis.




         1
           The first count of aggravated sexual assault of a child was dismissed at some point before the jury
received the charge of the court.
       P.S., who was fourteen years old at the time of trial, testified that “[her] mom’s
boyfriend,” Appellant, sexually assaulted her more than once while her mother was at work,
although she did not remember exactly how many times. She stated that on one occasion, in her
mother’s bedroom, Appellant “put his penis in [her] butt,” and on other occasions, he “put his
penis in [her] mouth,” made her swallow “white stuff” that came from his penis, and “put his
mouth in [her] vagina.” P.S. told her mother about what happened, after which the police came
to the house, and P.S. underwent a medical exam, which made her feel “hurt and weird.”
       Wesley Mask, formerly an officer of the Nacogdoches Police Department, testified that
on May 5, he was dispatched to a residential address in Nacogdoches pursuant to a complaint of
sexual assault of a child. He spoke to R.L. and collected evidence from the home, including
articles of clothing and bedding. He also set up a forensic interview and physical examination
for P.S. at Harold’s House, a child advocacy center.
       Madelyn Pool, the forensic interviewer who spoke to P.S. at Harold’s House, testified
that P.S. was very emotional and tearful during the interview, and spent the majority of the time
holding a teddy bear she brought with her to the facility. P.S. disclosed that the abuse was
ongoing and began when she was five or six years old, but included multiple incidents wherein
Appellant forced her to perform oral, vaginal, and anal sex, including an occurrence the day
before she disclosed the abuse to her mother.
       Norma Sanford, a sexual assault nurse examiner (SANE) employed by Harold’s House,
testified that P.S. (who was ten years old at the time of the exam) had acute redness and
tenderness in her entire genital area, which was consistent with an assault occurring the morning
before. She also had a healed partial transection of her hymen, which Sanford testified would be
caused by penetration or “something traumatic enough to separate and tear” the tissue, which
was abnormal in a child of P.S.’s age. Sanford also observed a bleeding abrasion in the posterior
fourchette area. However, because P.S. experienced severe pain and tenderness, Sanford could
not collect specimens or swabs. Kim Riddle, the forensic nursing coordinator employed by
Harold’s House, completed P.S.’s examination and specimen collection the following day. She
noted the abrasion in the posterior fourchette area, which she described as a “scraping/rubbing
type injury … in an area where we normally do find injuries in a sexual assault.” Riddle also
noted the healed tear to P.S.’s hymen, a type of injury consistent with sexual assault.




                                                 2
        Jamie Shelton, supervisor of property and evidence for the Nacogdoches Police
Department, testified briefly that she collected a buccal DNA swab from Appellant, and oversaw
storage for the sheets taken from P.S.’s bed. Richard Bush, a forensic biologist employed by the
Texas Department of Public Safety, testified that the swabs contained in P.S.’s sexual assault kit
tested negative for the presence of semen, as did a cutting removed from P.S.’s bedding.
However, the bedding tested positive for the presence of blood. Berenger Chan, also a forensic
scientist with the Texas Department of Public Safety, testified that his comparison of the blood
found on P.S.’s bedding to Appellant’s DNA sample revealed a substantial likelihood that the
DNA from the bedding swatch belonged to Appellant.
        After the close of evidence and argument of counsel, the jury found Appellant “guilty” as
charged on all three remaining counts and sentenced him to fifty years’ imprisonment for count
two, ten years’ imprisonment for count three, and ten years’ imprisonment on count four. This
appeal followed.


                           ANALYSIS PURSUANT TO ANDERS V. CALIFORNIA

        Appellant’s counsel filed a brief in compliance with Anders v. California and Gainous v.
State. Appellant’s counsel states that he diligently reviewed the appellate record and is of the
opinion that the record reflects no reversible error and that there is no error upon which an appeal
can be predicated. He further relates that he is well-acquainted with the facts in this case. In
compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim. App. [Panel
Op.] 1978), Appellant’s brief presents a chronological summation of the procedural history of
the case and further states that Appellant’s counsel is unable to raise any arguable issues for
appeal. 2 We likewise reviewed the record for reversible error and found none.


                                                 CONCLUSION

        As required by Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991), Appellant’s
counsel moved for leave to withdraw. See also In re Schulman, 252 S.W.3d 403, 407 (Tex.

         2
           In compliance with Kelly v. State, Appellant’s counsel provided Appellant with a copy of the brief,
notified Appellant of his motion to withdraw as counsel, informed Appellant of his right to file a pro se response,
and took concrete measures to facilitate Appellant’s review of the appellate record. See Kelly v. State, 436 S.W.3d
313, 319 (Tex. Crim. App. 2014). Appellant was given time to file his own brief. The time for filing such a brief
expired and no pro se brief has been filed.


                                                        3
Crim. App. 2008) (orig. proceeding). We carried the motion for consideration with the merits.
Having done so and finding no reversible error, we grant Appellant’s counsel’s motion for leave
to withdraw and affirm the trial court’s judgment.
         As a result of our disposition of this case, Appellant’s counsel has a duty to, within five
days of the date of this opinion, send a copy of the opinion and judgment to Appellant and advise
him of his right to file a petition for discretionary review. See TEX. R. APP. P. 48.4; Schulman,
252 S.W.3d at 411 n.35. Should Appellant wish to seek review of this case by the Texas Court
of Criminal Appeals, he must either retain an attorney to file a petition for discretionary review
on his behalf or he must file a petition for discretionary review pro se. Any petition for
discretionary review must be filed within thirty days from either the date of this opinion or the
date that the last timely motion for rehearing was overruled by this court. See TEX. R. APP. P.
68.2. Any petition for discretionary review must be filed with the Texas Court of Criminal
Appeals. See TEX. R. APP. P. 68.3(a). Any petition for discretionary review should comply with
the requirements of Texas Rule of Appellate Procedure 68.4. See Schulman, 252 S.W.3d at 408
n.22.



Opinion delivered August 21, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.




                                             (DO NOT PUBLISH)




                                                          4
                                   COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                           AUGUST 21, 2024


                                         NO. 12-24-00063-CR


                            ERNESTO SANDOVAL-DELROSARIO,
                                       Appellant
                                          V.
                                 THE STATE OF TEXAS,
                                       Appellee


                                Appeal from the 420th District Court
                      of Nacogdoches County, Texas (Tr.Ct.No. F2427908)

                       THIS CAUSE came to be heard on the appellate record and briefs filed
herein, and the same being considered, it is the opinion of this court that there was no error in the
judgment.
                       It is therefore ORDERED, ADJUDGED, and DECREED that the
judgment of the court below be in all things affirmed, and that this decision be certified to the
court below for observance.

                    By per curiam opinion.
                    Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.
